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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                   x
                                                     :
UNITED STATES OF AMERICA                             :
                                                     :     CONSENT PRELIMINARY ORDER
               - v. -                                :     OF FORFEITURE/
                                                     :     MONEY JUDGMENT
AJIT SINGH,                                          :
                                                     :     19 Cr. 339 (RA)
                        Defendant.                   :
                                                     :
----------------------------------                   x

               WHEREAS, on or about May 7, 2019, AJIT SINGH (the “Defendant”), among

others, was charged in a four-count Indictment, 19 Cr. 339 (RA) (the “Indictment”), with narcotics

importation conspiracy, in violation of Title 21, United States Code, Sections 952(a), 960(a),

960(b)(3), 960(b)(6), and 963 and Title 18, United States Code, Section 3238 (Count One);

narcotics importation conspiracy, in violation of Title 21, United States Code, Sections 959(a),

959(d), 960(a), 960(b)(3) and 963 and Title 18, United States Code, Section 3238(Count Two);

narcotics importation, in violation of Title 21, United States Code, Sections 952(a), 960(a)(1),

960(b)(6) and 963 and Title 18, United States Code, Sections 2 and 3238 (Count Three); and

narcotics distribution for importation, in violation of Title 21, United States Code, Sections 959(a),

959(d), 960(a)(3), 960(b)(3) and 963 and Title 18, United States Code, Sections 2 and 3238 (Count

Four);

               WHEREAS, the Indictment included a forfeiture allegation as to Counts One

through Four, seeking forfeiture to the United States, pursuant to Title 21, United States Code,

Section 853, of any and all property constituting or derived from any proceeds obtained, directly

or indirectly, as a result of the offenses and any and all property used, or intended to be used, in

any manner or part to commit and facilitate the commission of the offenses charged in Counts One

through Four of the Indictment, including but not limited to a sum of money in United States
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currency representing the amount of proceeds traceable to the commission of the offenses charged

in Counts One through Four of the Indictment;

                WHEREAS, on or about October 21, 2020, the Defendant intends to plead guilty

to Counts One and Three of the Indictment, pursuant to a plea agreement with the Government,

wherein the Defendant admitted the forfeiture allegation with respect to Counts One and

Three and agreed to forfeit to the United States, pursuant to Title 21, United States Code,

Sections 853, a sum of money equal to $130,000 in United States currency representing the

amount of proceeds traceable to the commission of the offenses charged in Counts One and

Three of the Indictment; and

                WHEREAS, the Defendant consents to the entry of a money judgment in the

amount of $130,000 in United States currency representing the amount of proceeds traceable to

the offenses charged in Counts One through Four of the Indictment, for which the Defendant is

jointly and severally liable with co-Defendant Gulsahil Singh, to the extent a forfeiture money

judgement is entered against Gulsahil Singh;

                WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the

Defendant, the proceeds traceable to the offenses charged in Counts One and Three of the

Indictment that the Defendant personally obtained cannot be located upon the exercise of due

diligence.

                IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States

Attorney, Juliana Murray of counsel, and the Defendant, AJIT SINGH, and his counsel, Michael

Baldassare, Esq., that:
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               1.      As a result of the offenses charged in Counts One and Three of the

Indictment, to which the Defendant pled guilty, a money judgment in the amount of $130,000 in

United States currency (the “Money Judgment”), representing the amount of proceeds traceable to

the offenses charged in Counts One and Three of the Indictment that the Defendant personally

obtained, shall be entered against the Defendant, for which the Defendant is jointly and severally

liable with co-Defendant Gulsahil Singh, to the extent a forfeiture money judgment is entered

against Gulsahil Singh.

               2.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure,

this Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant, AJIT

SINGH, and shall be deemed part of the sentence of the Defendant, and shall be included in the

judgment of conviction therewith.

               3.      All payments on the outstanding Money Judgment shall be made by postal

money order, bank or certified check, made payable, in this instance, to United States Marshals

Service, and delivered by mail to the United States Attorney’s Office, Southern District of New

York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s

Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

               4.      The United States Marshals Service is authorized to deposit the payments

on the Money Judgment in the Assets Forfeiture Fund, and the United States shall have clear title

to such forfeited property.

               5.      Pursuant to Title 21, United States Code, Section 853(p), the United States

is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount

of the Money Judgment.
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               6.     Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate

or dispose of forfeitable property, including depositions, interrogatories, requests for production

of documents and the issuance of subpoenas.

               7.     The Court shall retain jurisdiction to enforce this Consent Preliminary Order

of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

               8.     The Clerk of the Court shall forward three certified copies of this Consent

Preliminary Order of Forfeiture/Money Judgment to Assistant United States Attorney Alexander

J. Wilson, Co-Chief of the Money Laundering and Transnational Criminal Enterprises Unit, United

States Attorney’s Office, One St. Andrew’s Plaza, New York, New York 10007.

               9.     The signature page of this Consent Preliminary Order of Forfeiture/Money

Judgment may be executed in one or more counterparts, each of which will be deemed an original




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